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                                                                           1/12/2022
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     UNITED STATES OF AMERICA
10
                             UNITED STATES DISTRICT COURT
11
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
     UNITED STATES OF AMERICA,                  CR 2:22-cr-00012-MWF
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               Plaintiff,                       [PROPOSED] ORDER SEALING
14                                              INDICTMENT AND RELATED DOCUMENTS
                     v.
15                                              (UNDER SEAL)
     FREDI CASTILLO-VEGA,
16      akas Listo, Fredy Vega, and
     DALLAS CLAVELLE,
17      aka Kash

18             Defendants.

19
          For good cause shown, IT IS HEREBY ORDERED THAT:
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          Pursuant to Federal Rule of Criminal Procedure 6(e)(4), the
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     indictment and any related documents in the above-titled case (except
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     the arrest warrants), the government’s sealing application, and this
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     //
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     //
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 1   order shall be kept under seal until such time as the government

 2   files a “Report Commencing Criminal Action” in this matter.

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 4
        January 12, 2022
 5   DATE                                     HONORABLE ROZELLA A. OLIVER
                                              UNITED STATES MAGISTRATE JUDGE
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 1   OR IN CASE OF DENIAL:

 2          The government’s application for sealed filing is DENIED.             The

 3   sealing application will be filed under seal.         The underlying

 4   document(s) shall be returned to the government, without filing of

 5   the documents or reflection of the name or nature of the documents on

 6   the clerk’s public docket.

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 8

 9   DATE                                     HONORABLE
                                              UNITED STATES MAGISTRATE JUDGE
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